                                                           (SPACE BELOW FOR FILING STAMP ONLY)
      Case 1:03-cr-05453-JLT Document 257 Filed 08/03/05 Page 1 of 3


 1        ROGER T. NUTTALL #42500
           NUTTALL & COLEMAN
 2                2333 MERCED STREET
                   FRESNO, CA 93721
 3                PHONE (559) 233-2900
                   FAX (559) 485-3852
 4
 5     ATTORNEYS FOR Defendant,
                  EDDY A. GEORGE
 6
 7
 8                             UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
10                                       * * * * * * * *
11   UNITED STATES OF AMERICA,                   Case No.: CR-F-03-5453 OWW
12                Plaintiff,
13         vs.                                   STIPULATION TO CONTINUE FILING
                                                   OF MOTION FOR NEW TRIAL AND
14   EDDY A. GEORGE,                                        SENTENCING
                                                               and
15                Defendant.
                                                              O R D E R
16
17        IT IS HEREBY STIPULATED by and between attorneys for the
18   respective parties herein that the dates for the filing of
19   Motions for New Trial and the Sentencing be continued as follows:
20                                       Current Date               Continued Date
21   Filing of Motion for                August 2, 2005             October 4, 2005
     New Trial
22
23   Government Response                 August 22, 2005            October 25, 2005
24
     SENTENCING                          August 29, 2005            October 31, 2005
25
26        Counsel for all parties request this continuance due to the
27   fact that the Trial Transcript will not be completed by the two
28   court reporters until the end of August, 2005.                  Counsel need an
      Case 1:03-cr-05453-JLT Document 257 Filed 08/03/05 Page 2 of 3


 1   additional month within which to review the Trial Transcript
 2   and prepare their motions for New Trial.
 3        Counsel for Defendant GEORGE has spoken with Assistant U. S.
 4   Attorney, KAREN ESCOBAR, as well as with all other defendant
 5   attorneys, who are agreeable to this continuance.
 6        DATED: August 1, 2005.
 7                                     Respectfully submitted,
 8                                     NUTTALL & COLEMAN
 9                                         /s/ Roger T. Nuttall
                                       By: ___________________________
10                                              ROGER T. NUTTALL
                                            Attorneys for Defendant
11                                             EDDY A. GEORGE
12        DATED: August 1, 2005.
13
                                            /s/ Nicholas F. Reyes
14                                     ___________________________
                                            NICHOLAS F. REYES
15                                      Attorney for Defendant
                                            RITO S. ZAZUETA
16
17        DATED: August 1, 2005.
18
                                            /s/ Timothy B. Rote
19                                     _________________________
                                            TIMOTHY B. ROTE
20                                      Attorney for Defendant
                                            MICHAEL NOBARI
21
22        DATED: August 1, 2005.
23
                                          /s/ Ed Hunt
24                                     ___________________________
                                            ED HUNT
25                                      Attorney for Defendant
                                            EDISON SHINO
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     Case 1:03-cr-05453-JLT Document 257 Filed 08/03/05 Page 3 of 3


 1                                O R D E R
 2
 3       Good Cause Appearing,
 4       IT IS SO ORDERED.
 5
 6       DATED: August 2, 2005.
 7
 8                               /s/ OLIVER W. WANGER
 9                               _________________________
10                                   OLIVER W. WANGER
                                 Judge, U. S. District Court
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